             Case 1:18-cr-03475-WJ Document 41 Filed 12/13/19 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO
 UNITED STATES OF AMERICA,                    )
                                              )
                 Plaintiff,                   )     CRIMINAL NO. 18-03475-WJ
                                              )
        vs.                                   )
                                              )
 ROBERT DUNSWORTH,                            )
                                              )
                 Defendant.                   )

         ORDER GRANTING UNITED STATES’ UNOPPOSED MOTION FOR
            EXTENTION OF TIME TO RESPOND TO DEFENDANT’S
                    MOTION TO SUPPRESS EVIDENCE

       THIS MATTER having come before the Court on the unopposed motion of the United

States for extension of time to answer Defendant’s motion, and the Court being otherwise fully

advised in the premises, FINDS that the ends of justice served by the granting of the continuance

sought outweighs the best interest of the public and the defendant in a speedy trial, and the Court

being otherwise fully advised in the premises, finds that the motion is well taken and will be

GRANTED.

IT IS THEREFORE ORDERED that the United States is granted an extension to December 30,

2019, to file its response to Defendant’s Motion to Suppress Evidence, filed December 2, 2019

(Doc. 39).



                                                     _______________________________
                                                     WILLIAM P. JOHNSON
                                                     CHIEF U.S. DISTRICT JUDGE
